
— Order, in so far as it granted plaintiff’s motion to strike from defendant’s answer the ninth separate defense, the first partial defense and the first counterclaim, reversed on the law and the facts, with ten dollars costs and disbursements, and motion denied, without costs, with leave to plaintiff to reply to the counterclaim wdthin ten days from the entry of the order herein. The ninth separate defense and the first partial defense are valid. (Morris v. Windsor Trust Co., 213 N. Y. 27-31; Toplitz v. Bauer, 161 id. 325, 332; Gillet v. Bank of America, 160 id. 549, 560; Matter of Clark, 257 id. 132; King v. Talbot, 40 id. 76.) The first counterclaim is sufficient in law. Lazansky, P. J., Young, Kapper, Carswell and Tompkins, JJ., concur.
